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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 ANDREW PERRONG, individually and on                  :   Case No.
 behalf of a class of all persons and entities        :
 similarly situated,                                  :
                                                      :
           Plaintiff,                                 :
                                                      :
 v.                                                   :
                                                      :   JURY DEMANDED
 CONSTELLATION ENERGY                                 :
 CORPORATION and ALLIANCE                             :
 SHAREHOLDER COMMUNICATIONS,                          :
 LLC                                                  :
                                                      :
           Defendants.                                :
                                                  /

                                  CLASS ACTION COMPLAINT

                                       Preliminary Statement

          1.       As the Supreme Court explained, “Americans passionately disagree about many

things. But they are largely united in their disdain for robocalls. The Federal Government

receives a staggering number of complaints about robocalls—3.7 million complaints in 2019

alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the

people’s representatives in Congress have been fighting back. As relevant here, the Telephone

Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell

phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335, 2343

(2020).

          2.       Plaintiff Andrew Perrong alleges that Alliance Shareholder Communications,

LLC (“Alliance Shareholder”) sent pre-recorded telemarketing calls to his cellular telephone and

those of other putative class members for the purposes of advertising Constellation Energy

Corporation (“Constellation Energy”) goods and services, which is prohibited by the TCPA.
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       3.       Because the calls to Plaintiff were transmitted using technology capable of

generating thousands of similar calls per day, Plaintiff bring this action on behalf of proposed

nationwide a class of other persons who were sent the same illegal telemarketing calls.

       4.       A class action is the best means of obtaining redress for the Defendants’ illegal

telemarketing and is consistent both with the private right of action afforded by the TCPA and

the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                              Parties

       5.       Plaintiff Andrew Perrong is an individual.

       6.       Defendant Alliance Shareholder Communications, LLC is a New Jersey limited

liability company.

       7.       Defendant Constellation Energy Corporation is a corporation headquartered in

Baltimore, MD in this District.

                                      Jurisdiction & Venue

       8.       The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff’s claims arise under federal law.

       9.       The Court has personal jurisdiction over Constellation Energy Corporation

because it is a resident of this District. The Court has personal jurisdiction over Alliance

Shareholder Communications because it worked with Constellation Energy Corporation in this

District to organize the calling conduct at issue. Moreover, upon information and belief, the

agreement between Constellation Energy Corporation and Alliance Shareholder

Communications would have had any disputes between the two subject to Maryland law.




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        10.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because the Defendant

Constellation Energy Corporation resides in this District and organized the calling conduct at

issue from this District.

                            The Telephone Consumer Protection Act

        11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing …

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits Automated Telemarketing Calls

        12.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service…or any service for which the called party is

charged for the call.” See 47 U.S.C. § 227(b)(1)(A)(iii).

        13.     The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

        14.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

        15.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations




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Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 FCC Rcd. 14014, 14115, ¶ 165 (2003).


                                            Factual Allegations

        16.         Constellation Energy provides electric power, natural gas, and energy

management services.

        17.         Constellation Energy has shareholders and is a publicly traded company, trading

under NASDAQ Ticker CEG.
        18.         Constellation Energy engaged in a program to repurchase its stock under a

buyback program.

        19.         To solicit individuals to sell their stock back to Constellation Energy,

Constellation engaged Alliance as its agent to contact individuals and inform them about buying

Constellation stock.

        20.         Alliance Shareholder telemarketing efforts include the use of automated pre-

recorded message calls.

Call to Mr. Perrong

        21.         Mr. Perrong is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

        22.         On March 24, 2022, Mr. Perrong received a pre-recorded call on his number for

which he is charged per minute for the calls, 215-947-XXXX.
        23.         That Number, which is assigned to a VoIP telephone service, is charged for each

call it receives.

        24.         The service charges a ring charge of $0.005 for the provision of Caller ID Name

lookup information for each call placed to the Number, even if the call is not answered.

        25.         The service also charges a per-minute charge of $0.004 per minute for voice

charges for each minute of talk time, including voicemail time, for each call placed to the

Number.



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       26.     The Number is therefore “assigned to a . . . service for which the called party is

charged for the call” and any calls placed to that number are subject to the restrictions

enumerated in 47 U.S.C. § 227(b)(1)(A)(iii).

       27.     The number called had been on the National Do Not Call Registry.

       28.     The pre-recorded message stated:

                       Good day, you recently received information in the mail regarding a
                       voluntary program being offered to shareholders owning fewer than 100
                       shares of Constellation Energy common stock. This provides an opportunity
                       to conveniently sell your shares of Constellation Energy to sell your shares
                       through this program. Your properly completed acceptance card must be
                       received by April 27, 2022. All terms in this program are contained in the
                       letter that was recently mailed to you. If you have any further questions,
                       please press one now to speak to a representative or if you've received this
                       message on your voicemail, you may contact Alliance Shareholder
                       Communications LLC, the manager of this program, toll free at 1-800-574-
                       6107 between the hours of 9am and 5pm. Eastern time Monday through
                       Friday. As a reminder, the program expires on April 27, 2022. Thank you
                       and have a great day.


       29.     However, Mr. Perrong is not a shareholder of Constellation Energy.

       30.     Indeed, prior to filing this lawsuit, Mr. Perrong contacted Alliance Shareholder.

       31.     Mr. Perrong inquired how Alliance Shareholder obtained his phone number to

make the pre-recorded call.

       32.     Alliance Shareholder did not respond.
       33.     The privacy of Mr. Perrong and the putative class members was infringed upon

because the pre-recorded telemarketing calls occupied their telephone lines from legitimate

communications.


             Constellation Energy’s Liability for Alliance Shareholder’s Conduct

       34.     The Federal Communication Commission (“FCC”) is tasked with promulgating

rules and orders related to enforcement of the TCPA. See 47 U.S.C. 227(b)(2).




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       35.     The FCC has explained that its “rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations.” See In re Rules &

Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

10 FCC Rcd 12391, 12397 (¶ 13) (1995).

       36.     In their January 4, 2008 ruling, the FCC reiterated that a company on whose

behalf a telephone call is made bears the responsibility for any violations. Id. (specifically

recognizing “on behalf of” liability in the context of an autodialed or prerecorded message call

sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).

       37.     By hiring a company to make calls on its behalf, Constellation Energy

“manifest[ed] assent to another person . . . that the agent shall act on the principal’s behalf and

subject to the principal’s control” as described in the Restatement (Third) of Agency.

       38.     Moreover, Constellation Energy maintained interim control over the actions of

Shareholder Communications.

       39.     Furthermore, Constellation Energy, as it was trying to contact potential

shareholders, provided Alliance Shareholder Communications with the individuals to contact

with pre-recorded calls.

       40.     Indeed, when Mr. Perrong contacted Alliance Shareholder Communications about

the pre-recorded call, it informed him that “Constellation Energy Stock has

hired Alliance Advisors, as its agent, and provided your number.”

       41.     Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information.” Id. at 6592-593 (¶ 46). Moreover, evidence of circumstances pointing to apparent

authority on behalf of the telemarketer “should be sufficient to place upon the seller the burden




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of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).

                                      Class Action Statement

       42.     As authorized by Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of all other persons or entities similarly situated

throughout the United States.

       43.     The Class of persons Plaintiff proposes to represent include:

       All persons within the United States to whom: (a) Alliance Shareholder and/or a
       third party acting on their behalf, made one or more non-emergency telephone calls
       for Constellation Energy; (b) to their cellular telephone number or number that is
       charged per the call; (c) using an artificial or prerecorded voice; and (d) at any time
       in the period that begins four years before the date of the filing of this Complaint to
       trial.



       44.     Excluded from the Class are the Defendants, any entities in which the Defendants

have a controlling interest, the Defendants’ agents and employees, any Judge to whom this action

is assigned, and any member of the Judge’s staff and immediate family.

       45.     The proposed Class members are identifiable through phone records and phone

number databases, which are with the Defendants or their agents.

       46.     The automated technology used to contact the Plaintiff is capable of contacting

hundreds of thousands of people a day, and so the potential Class members number in the

thousands, at least. Individual joinder of these persons is impracticable.

       47.     Plaintiff is a member of the Class.

       48.     There are questions of law and fact common to Plaintiff and to the proposed

Class, including but not limited to the following:




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                 a.   Whether Alliance Shareholder used a pre-recorded message to make the

                      calls at issue;

                 b.   Whether Constellation Energy is vicariously liable for the conduct of

                      Alliance Shareholder;

                 c.   Whether the Defendants placed telemarketing calls without obtaining the

                      recipients’ valid prior express consent;

                 d.   Whether the Defendants’ violations of the TCPA were negligent, willful, or

                      knowing; and

                 e.   Whether the Plaintiff and the class members are entitled to statutory

                      damages because of Defendants’ actions.

       49.       Plaintiff’s claims are based on the same facts and legal theories as the claims of

all class members, and therefore are typical of the claims of class members, as the Plaintiff and

class members all received telephone calls through the same or similar dialing system and pre-

recorded message on a cellular telephone line.

       50.       Plaintiff is an adequate representative of the Class because his interests do not

conflict with the interests of the Class, he will fairly and adequately protect the interests of the

Class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

       51.       In fact, the Plaintiff has foregone a simpler path to recovery by filing this matter

as a putative class action, as opposed to an individual claim.

       52.       The actions of the Defendant are generally applicable to the Class and to Plaintiff.

       53.       Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient




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adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or their agents.

       54.      The likelihood that individual class members will prosecute separate actions is

remote due to the time and expense necessary to prosecute an individual case, and given the small

recoveries available through individual actions.

       55.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

                                           Legal Claims

                                           Count One:
                           Violation of the TCPA, 47 U.S.C. § 227(b)

       56.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       57.      The foregoing acts and omissions of Defendants and/or their affiliates, agents,

and/or other persons or entities acting on Defendants’ behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, to the

cellular telephone numbers of Plaintiff and members of the Class using a pre-recorded message.

       58.      If the Defendants’ conduct is found to be knowing or willful, the Plaintiff and

members of the Class are entitled to an award of up to treble damages.

       59.      Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendants and/or its affiliates, agents, and/or other persons or entities acting

on Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227, by making calls, except for

emergency purposes, to any cellular telephone numbers using a prerecorded voice in the future.

                                           Relief Sought

       For himself and all class members, Plaintiff requests the following relief:



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       A.      Certification of the proposed Class;

       B.      Appointment of Plaintiff as representative of the Class;

       C.      Appointment of the undersigned counsel as counsel for the Class;

       D.      A declaration that Defendants and/or their affiliates, agents, and/or other related

entities’ actions complained of herein violate the TCPA;

       E.      An order enjoining Defendants and/or their affiliates, agents, and/or other related

entities, as provided by law, from engaging in the unlawful conduct set forth herein;

       F.      An award to Plaintiff and the Class of damages, as allowed by law;

       G.      Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.



                                              PLAINTIFF,
                                              By his attorneys,


                                              __/s/_________________________
                                              John McGowan Bar ID #21477
                                              Kinner & McGowan PLLC
                                              413 East Capitol Street, SE First Floor
                                              Washington, D.C. 20003
                                              Telephone: (202) 846-7148
                                              Email: jmcgowan@kinnermcgowan.com


                                              __/s/___________________________
                                              Anthony Paronich
                                              PARONICH LAW P.C.
                                              350 Lincoln Street Suite 2400
                                              Hingham, MA 02043
                                              Telephone: (617) 485-0018
                                              Email: anthony@paronichlaw.com
                                              Subject to Pro Hac Vice


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